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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                         FRESNO DIVISION

  OLA FITZGERALD,                  )                  CIVIL NO. 1:25-cv-00114-KES-EPG
                                   )
       Plaintiff,                  )                  STIPULATION TO VOLUNTARY
       v.                          )                  REMAND PURSUANT TO SENTENCE
                                   )                  FOUR OF 42 U.S.C. § 405(g) AND TO
  COMMISSIONER OF SOCIAL SECURITY, )                  ENTRY OF JUDGMENT; ORDER
       Defendant.                  )
                                   )
                                   )

         IT IS HEREBY STIPULATED by and between the parties, through their undersigned

  attorneys, and with the approval of the Court, that this action be remanded for further

  administrative action pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C.

  § 405(g), sentence four. On remand, the Appeals Council will remand the case to an

  administrative law judge (ALJ) with instructions to reevaluate Plaintiff’s ability to return to past

  relevant work; as needed, continue the sequential evaluation process and obtain vocational expert

  testimony, if warranted; offer Plaintiff the opportunity for a hearing; take any further action

  needed to complete the administrative record; and issue a new decision.
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         The parties further request that the Court direct the Clerk of the Court to enter a final

  judgment in favor of Plaintiff, and against Defendant, reversing the final decision of the

  Commissioner.

                                                Respectfully submitted,

  DATE: March 31, 2025                          /s/ Jane Cervantes*
                                                JANE CERVANTES
                                                (*as authorized via e-mail on March 31, 2025)
                                                Attorney for Plaintiff
                                                MICHELE BECKWITH
                                                Acting United States Attorney
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                                                Office of Program Litigation, Office 7

  DATE: March 31, 2025                          By: /s/ Justin L. Martin
                                                JUSTIN L. MARTIN
                                                Special Assistant United States Attorney
                                                Office of Program Litigation, Office 7
                                                Attorneys for Defendant
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                                              ORDER

         Based upon the parties’ stipulation to Voluntary Remand Pursuant to Sentence Four of 42

  U.S.C. § 405(g) and to Entry of Judgment, and for cause shown, IT IS ORDERED that the

  above-captioned action is remanded to the Commissioner of Social Security for further

  proceedings pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C. § 405(g),

  sentence four. On remand, the Appeals Council will remand the case to an administrative law

  judge for a new decision in accordance with the parties’ Stipulation.

         The Clerk of Court is directed to enter judgment in favor of plaintiff Ola Fitzgerald and

  against defendant, the Commissioner of Social Security.


  IT IS SO ORDERED.

     Dated:     March 31, 2025
                                                      UNITED STATES DISTRICT JUDGE
